                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


SCOTT WEAVER, Individually and
on Behalf of All Others Similarly Situated,

               Plaintiff,

       v.                                                          Case No. 2:18-cv-1996-JPS

CHAMPION PETFOODS USA INC. and
CHAMPION PETFOODS LP,

               Defendants.


     DECLARATION OF DAVID A. COULSON IN SUPPORT OF DEFENDANTS’
       RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR CLASS
                           CERTIFICATION


I, DAVID A. COULSON, declare and state as follows:

       1.      I am an attorney at GREENBERG TRAURIG, P.A. I represent Defendants

Champion Petfoods USA Inc. and Champion Petfoods LP (collectively, “Champion”) and submit

this declaration in support of Defendants’ Response in Opposition to Plaintiff’s Motion for Class

Certification. This declaration is based on my personal knowledge and review of my files.

       2.      Attached as “Exhibit A” is a true and correct copy of a Declaration of Chinedu

Ogbonna.

       3.      Attached as “Exhibit A-1” is a true and correct copy of the American Association

of Feed Control Officials (“AAFCO”) definitions of the words, “fresh” and “raw.”

       4.      Attached as “Exhibit A-2” is a true and correct copy of the AAFCO regulation

pertaining to the phrase, “made with.”




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         5.      Attached as “Exhibit A-3” is a true and correct copy of the electronic page view

history of Champion’s White Paper.

         6.      Attached as “Exhibit B” is a true and correct copy of an excerpt of the deposition

of Peter Muhlenfeld taken on November 13, 2018.

         7.      Attached as “Exhibit C” is a true and correct copy of an excerpt of the deposition

of Peter Muhlenfeld taken on December 4, 2018.

         8.      Attached as “Exhibit D” is a true and correct copy of an excerpt of the deposition

of Jeff Johnston.

         9.      Attached as “Exhibit E” is a true and correct copy of a Declaration of Christopher

Milam.

         10.     Attached as “Exhibit E-1” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ORIJEN Six Fish.

         11.     Attached as “Exhibit E-2” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Regionals Wild Atlantic.

         12.     Attached as “Exhibit E-3” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Heritage Free-Run Poultry.

         13.     Attached as “Exhibit E-4” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Regionals Meadowland.

         14.     Attached as “Exhibit E-5” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ORIJEN Puppy.

         15.     Attached as “Exhibit E-6” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ORIJEN Puppy Large.




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      16.    Attached as “Exhibit E-7” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ORIJEN Regional Red.

      17.    Attached as “Exhibit E-8” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Singles Duck & Pear.

      18.    Attached as “Exhibit E-9” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Heritage Freshwater Fish.

      19.    Attached as “Exhibit E-10” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ORIJEN Original.

      20.    Attached as “Exhibit E-11” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Regionals Grasslands.

      21.    Attached as “Exhibit E-12” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Singles Pork & Squash.

      22.    Attached as “Exhibit E-13” is a true and correct copy of a 2016-2017 NorthStar

package of the Champion dog food diet, ACANA Singles Duck & Pear.

      23.    Attached as “Exhibit E-14” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Regionals Appalachian Ranch.

      24.    Attached as “Exhibit E-15” is a true and correct copy of a 2016-2017 NorthStar

package of the Champion dog food diet, ACANA Regionals Ranchlands.

      25.    Attached as “Exhibit E-16” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ORIJEN Senior.

      26.    Attached as “Exhibit E-17” is a true and correct copy of a 2018 DogStar package

of the Champion dog food diet, ACANA Singles Pork & Squash.




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      27.    Attached as “Exhibit E-18” is a true and correct copy of a 2018 DogStar package

of the Champion dog food diet, ACANA Heritage Free-Run Poultry.

      28.    Attached as “Exhibit E-19” is a true and correct copy of a 2016-2017 DogStar

package of the Champion dog food diet, ACANA Singles Lamb & Apple.

      29.    Attached as “Exhibit F” is a true and correct copy of a Declaration of Richard

Raposo.

      30.    Attached as “Exhibit F-1” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ORIJEN Puppy.

      31.    Attached as “Exhibit F-2” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ACANA Puppy & Junior.

      32.    Attached as “Exhibit F-3” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ACANA Chicken & Burbank Potato.

      33.    Attached as “Exhibit F-4” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ACANA Light & Fit.

      34.    Attached as “Exhibit F-5” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ACANA Pacifica.

      35.    Attached as “Exhibit F-6” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ORIJEN Regional Red.

      36.    Attached as “Exhibit F-7” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ORIJEN Six Fish.

      37.    Attached as “Exhibit F-8” is a true and correct copy of a 2014-2015 NorthStar

package of the Champion dog food diet, ACANA Singles Duck & Pear.




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       38.     Attached as “Exhibit F-9” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ORIJEN Senior.

       39.     Attached as “Exhibit F-10” is a true and correct copy of a 2016-2017 NorthStar

package of the Champion dog food diet, ACANA Singles Duck & Pear.

       40.     Attached as “Exhibit F-11” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ACANA Regionals Ranchlands.

       41.     Attached as “Exhibit F-12” is a true and correct copy of a 2016-2017 NorthStar

package of the Champion dog food diet, ACANA Regionals Ranchlands.

       42.     Attached as “Exhibit F-13” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ORIJEN Puppy Large.

       43.     Attached as “Exhibit F-14” is a true and correct copy of a 2013-2015 NorthStar

package of the Champion dog food diet, ACANA Regionals Grasslands.

       44.     Attached as “Exhibit F-15” is a true and correct copy of a 2014-2015 NorthStar

package of the Champion dog food diet, ACANA Singles Pork & Squash.

       45.     Attached as “Exhibit F-16” is a true and correct copy of a 2016-2017 NorthStar

package of the Champion dog food diet, ACANA Singles Pork & Squash.

       46.     Attached as “Exhibit F-17” is a true and correct copy of a 2014-2015 NorthStar

package of the Champion dog food diet, ACANA Singles Lamb & Apple.

       47.     Attached as “Exhibit G” is a true and correct copy of an excerpt of the deposition

of Plaintiff Scott Weaver.

       48.     Attached as “Exhibit H” is a true and correct copy of the Expert Report of Dr.

Robert H. Poppenga, DVM, PhD, DABVT.




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       49.       Attached as “Exhibit I” is a true and correct copy of an excerpt of the deposition

of Sean Callan taken on May 9, 2019.

       50.       Attached as “Exhibit J” is a true and correct copy of an excerpt of the deposition

of Sean Callan taken on August 20, 2019.

       51.       Attached as “Exhibit K” is a true and correct copy of an excerpt of the deposition

of Kenneth Gilmurray.

       52.       Attached as “Exhibit L” is a true and correct copy of an excerpt of the deposition

of Jim Wagner.

       53.       Attached as “Exhibit M” is a true and correct copy of an excerpt of the deposition

of Dr. Gary Pusillo.

       54.       Attached as “Exhibit N is a true and correct copy of an excerpt of the deposition

of Erik Flakstad.

       55.       Attached as “Exhibit O” is a true and correct copy of an excerpt of the deposition

of Matthew Ficarelli.

       56.       Attached as “Exhibit P” is a true and correct copy of an excerpt of the deposition

of Jennifer Reitman.

       57.       Attached as “Exhibit Q” is a true and correct copy of an excerpt of the deposition

of Carol Shoaff.

       58.       Attached as “Exhibit R” is a true and correct copy of an excerpt of the deposition

of Lisa Slawsby.

       59.       Attached as “Exhibit S” is a true and correct copy of an excerpt of the deposition

of Erin Grant.




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       60.     Attached as “Exhibit T” is a true and correct copy of an excerpt of the deposition

of Kellie Loeb.

       61.     Attached as “Exhibit U” is a true and correct copy of the Rebuttal Expert Report

of Dr. Dominque M. Hanssens.

       62.     Attached as “Exhibit V” is a true and correct copy of the Rebuttal Expert Report

of Dr. Lorin M. Hitt.

       63.     Attached as “Exhibit W” is a true and correct copy of a Declaration of Jim Wagner.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 16th day of September, 2019.

                                                              _/s/ David A. Coulson____________
                                                              David A. Coulson




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